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 7

 8                    IN THE UNITED STATES DISTRICT COURT
 9
                   FOR THE NORTHERN DISTRICT OF CALIFORNIA
                             SAN FRANCISCO DIVISION
10

11
     DIGITAL VERIFICATION
12   SYSTEMS, LLC
              Plaintiff,                             Case No. 5:23-cv-04240-TSH
13

14
                   v.

15   HONEYBOOK INC.,
            Defendants.
16

17                  NOTICE OF DISMISSAL WITH PREJUDICE
18
           Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(i), Plaintiff
19
     Digital Verification Systems, LLC respectfully submits this notice of voluntary
20
     dismissal of all claims asserted in this action WITH PREJUDICE, with each
21
     party to bear its own attorneys’ fees, costs and expenses.
22

23   Dated: November 2, 2023                Respectfully served,
                                            GARTEISER HONEA, PLLC
24
                                            /s/ Randall Garteiser
25
                                            Randall Garteiser
26                                          CA State Bar No. 231821
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                                            Christopher A. Honea
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     Case 3:23-cv-04240-TSH Document 7 Filed 11/02/23 Page 2 of 2




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                         NOTICE OF DISMISSAL WITH PREJUDICE
